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DEPARTMENT OF VETERANS AFFAIRS

OFFICE OF RESOLUTION MANAGEMENT
11301 Wilshire Boulevard, Building 220, 2nd Floor
Los Angeles, CA $0073

 

In reply refer to: 08
March 8, 2019
Via: UPS Tracking Number 1ZA5V6663591070132

Pauline Velez
116 South Hampton Avenue
Berkley, CA 94707

SUBJECT: Notice of Acceptance of your EEO Complaint No. 200P-0612-
2018106247, filed December 25, 2018, against officials of the Northern California
HCS — Martinez, in Mather, CA

1. On September 12, 2018, you initiated contact with an EEO counselor. Counseling
concluded on December 11, 2018, when you were emailed the Notice of Right to File a
Discrimination Complaint. On December 25, 2018, you filed a formal complaint of
discrimination, VA Form 4939.

2. Your complaint of discrimination raises the following claim:

Whether complainant was discriminated against based on national origin
(Hispanic), sex and reprisal (opposition to discrimination), when Timothy
Graham, Associate Director, removed her from her assignment as Site Manager
for the VA Northern California Health Care System Outpatient Clinic in Martinez,
CA on August 20, 2018.

3. We have determined that the claim stated above meets procedural requirements and
is therefore ACCEPTED for investigation and further processing.

4. If you believe that ‘the accepted claim is improperly formulated, incomplete, or -
incorrect, you must notify this office within 7 calendar days of receipt of this letter, in
writirig, by mail or fax, stating your disagreement. We will include your statement in the
complaint file. If you do not contact this office within 7 calendar days, we will assume
that the claim is correctly stated.

5. We will assign the accepted claim to an impartial investigator under the supervision of
the Office of Resolution Management (ORM). The investigator will contact you directly i in
order to obtain information or evidence you may wish to offer. The investigator is only
authorized to investigate the claim specified.

6. You have additional rights that are fully explained in the enclosure to this letter.

7. Failure to keep this office advised of any change of address could lead to
PLTF.

EXHIBIT GEFD
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CONSISTING OF PAGES
DATE 9G-2g- 3 [

BEHMKE REPORTING AND VIDEO SERVICES, INC.
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Notice of Acceptance
Pauline Velez
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dismissal of your complaint. You must also immediately advise this office, in writing,
. of the name, address, and telephone number of any person you may choose to represent
you. If you advise us of representation, we will mail all subsequent complaint-related
correspondence to your representative, with copiés to you, unless you advise us, in
writing, that you are no longer represented by that individual.

8. Our fax number is 310-268-4089. If you have any questions, please contact James
Itamura, Case Manager at james.itamura@va.gov.

Sincerely,

Yu Cy

for Sophia Eaves
Pacific District Manager

Enclosure: Complainant Rights

cc: Facility Director
Facility EEO Program Manager

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Pauline Velez
200P-0612-2018106247

Complainant Rights

The investigation must be completed within 180 calendar days of filing your complaint. You will receive a
copy of the investigative file upon completion. You will be advised, in writing, of your right to request a
Final Agency Decision (FAD) from the VA's Office of Employment Discrimination Complaint
Adjudication (OEDCA) in Washington, DC, or a hearing by an administrative judge appointed by the
Equal Employment Opportunity Commission (EEOC).

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In order to request a hearing, you must meet the following criteria:
e You have received your completed investigative file -OR-
e 180 calendar or more days elapsed since you filed your formal complaint (and you have
not received your complete investigative file)

 

 

 

To request that EEOC appoint an administrative You must send a copy of your EEOC hearing
judge to hear your complaint, you must complete request to this office:
EEOC’'s “Hearing Request Form” and send it to:
U.S. Equal Employment Opportunity Commission Department of Veterans Affairs
San Francisco District Office Office of Resolution Management

The Phillip Burton Federal Building 450 Golden Gate 11301 Wilshire Boulevard

Avenue PO Box 36025, 5'" Floor West Building 220, 2nd Floor

San Francisco CA 94102 Los Angeles, CA 90073

 

 

 

You are required to certify to the EEOC administrative judge that you sent a copy of the request for a
hearing to the Office of Resolution Management at the above address.

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To Tales a a FAD, | you Tue have received your completed investigative file.

 

To request a FAD, submit the FAD request form which will be included in your investigation file to:

 

 

Department of Veterans Affairs
Office of Resolution Management
11301 Wilshire Boulevard, Building 220, 2nd Floor
Los Angeles, CA 90073

 

 

If you request a FAD, it will be rendered by VA's Office of Employment Discrimination Complaint
Adjudication (OEDCA) in Washington, DC. The FAD will address all claims, and a decision will be made
on the merits of your complaint. You may appeal the FAD to EEOC if you are dissatisfied with the
decision. OEDCA will provide you with specific information regarding your appeal rights following its final
agency decision, including your right to file a civil action in an appropriate United States District Court.

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If you have not received a copy of the investigative file within 180 calendar days from date you fled your
formal complaint, and you do not wish to have a hearing, you also have the right to file a civil action in an
appropriate United States District Court. If you file a civil action, the court may, at its discretion and upon
your request, appoint an attorney to represent you in the matter, if you do not have or cannot afford one.
The court may also authorize the civil action to begin without payment of fees, costs, or other security.
Finally, if you decide to file a civil action, you must name the Secretary of Veterans Affairs as the
defendant.

 

    

The EEOC Shidouraaes ihe’ use sath Altemative Dispute Resolution (ADR) to resolve EEO complaints.
Agencies and complainants can realize many advantages from using ADR. ADR offers parties the
opportunity for an early, informal resolution of disputes in a mutually satisfactory fashion. If you are
interested in using mediation to address the issues raised in your complaint, please contact the ORM
case manager listed in the letter or the ADR program manager at workplaceadr@va.qov.

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